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                                                            May 31, 2019

By ECF

Hon. Jesse M. Furman
United States District Court for the Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square New York, NY 10007


               Re:    Denson v. Donald J. Trump for President, Inc.
                      Case No. 18-cv-2690

Dear Judge Furman:

        I and co-counsel David K. Bowles represent plaintiff Jessica Denson (“Ms. Denson”) in
the referenced action. We write at this time to advise the Court of a factual development that
occurred on May 29, 2019, after submission of Ms. Denson’s motion to supplement the record
on the parties’ respective motions to confirm and vacate the arbitration Awards of L. Paul
Kehoe. Docket Nos. 29, 44.

        On May 29, 2019, the Campaign emailed the American Arbitration Association (“AAA”)
to advise it that, pursuant to Section 8(b) of the non-disparagement and non-disclosure agreement
(“NDA”) signed by Ms. Denson, it is refusing to arbitrate Ms. Denson’s claims in Denson v.
Donald J. Trump for President, Inc., AAA Case No. 01-19-0000-5505. The matter the
Campaign refuses to arbitrate is the class action arbitration Ms. Denson brought to invalidate the
NDA for herself and all comparably situated Campaign workers (the “Class Action
Arbitration”). A copy of the Campaign’s email to the AAA is enclosed.

         The Class Action Arbitration is the arbitration Ms. Denson brought to comply with this
Court’s August 30, 2018 Order granting the Campaign’s motion to compel arbitration of Ms.
Denson’s claims concerning the NDA’s invalidity. See Order, Docket No. 23, and Docket No.
42. This remarkable action – the Campaign’s refusal to arbitrate the very subject matter over
which it moved to compel arbitration and obtained dismissal of this action in this Court –
illustrates the Campaign’s desperation to avoid any examination of the legality of the NDA on
the merits.

        Indeed, the public policy arguments Ms. Denson raised on her motion to supplement,
which the Campaign attempted to preempt as “additional,” Docket No. 47, are arguments she
sought to arbitrate in the Class Action Arbitration and that the Campaign sought to bury by
refusing to consent to the Class Action Arbitration. The Campaign cannot have it both ways – an
arbitrator, or a court, or both need to address the legality of the NDA on the merits. Notably, the
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Campaign did not inform this Court of its action at the AAA in the letter it submitted to this
Court some hours later. Id.

         This development further supports Ms. Denson’s request that this Court consider the
illegality of the NDA on her public policy challenge to the Awards – in which Arbitrator Kehoe
raised the issue of the NDA’s legality sua sponte and without authorization, took no briefing on
the subject and decided the issue in a single cursory sentence. The parties, and the nation,
deserve more.

                                                     Respectfully submitted,



                                                     Maury B. Josephson

Enclosure
cc: Lawrence S. Rosen, Esq.
    Patrick T. McPartland, Esq.
    David K. Bowles, Esq.
    (all via ECF and email)
Maury Josephson




From:                         Patrick Mcpartland <pmcpartland@lhrgb.com>
Sent:                         Wednesday, May 29, 2019 1:45 PM
To:                           jonathanweed@adr.org
Cc:                           Lawrence Rosen; 'David Bowles'; Maury Josephson
Subject:                      RE: Donald J. Trump for President, Inc./Jessica Denson, AAA Case No. 01-19-0000-5505 (the "Second
                              Arbitration")
Attachments:                  Jessica Denson NDA - Fully Executed.pdf



Good afternoon Mr. Weed,

In accordance with paragraph 8B of the parties’ arbitration agreement (courtesy copy attached), we
write to advise that the Campaign does not consent to the AAA’s jurisdiction over the Second
Arbitration.

Very truly yours,


Patrick McPartland, Esq.




The Trump Building
40 Wall Street, 32nd Floor
New York, NY 10005
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From: Patrick Mcpartland
Sent: Wednesday, May 22, 2019 3:07 PM
To: jonathanweed@adr.org
Cc: Lawrence Rosen <lrosen@lhrgb.com>; 'David Bowles' <david@lawdkb.com>; Maury Josephson
<mbjlaw@verizon.net>
Subject: Donald J. Trump for President, Inc./Jessica Denson, AAA Case No. 01‐19‐0000‐5505 (the "Second Arbitration")

Good afternoon Mr. Weed,

We write in furtherance of our March 18, 2019 correspondence (courtesy copy attached) wherein the
Campaign expressly reserved its contractual right to not consent to the AAA’s jurisdiction over the
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Second Arbitration. This right, which is in the “sole discretion” of the Campaign, is set forth in
paragraph 8B of the subject Agreement (courtesy copy attached).

We are aware of Judge Kehoe’s recent decision and order concerning the Campaign’s application to
dismiss the Second Arbitration. We intend to discuss this with our client and expect to be able to
notify the AAA by next Wednesday or Thursday whether the Campaign will or will not consent to the
AAA’s jurisdiction over the Second Arbitration.

Thank you,

Patrick McPartland, Esq.




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